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1                           UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
2
                                 Jacksonville Division
3
     Eric D. Hayes, Jr.,
4
                              Plaintiff,                       Case No.: 3:24-cv-00110
5
                -against-                                      COMPLAINT AND
6                                                              DEMAND FOR JURY
                                                               TRIAL
     Experian Information Solutions, Inc.;
7
     Trans Union, LLC; and
8    Santander Consumer USA Inc.;

9
                              Defendant(s).

10

11            Plaintiff Eric D. Hayes, Jr., by and through counsel, as and for this
12   Complaint against Defendants Experian Information Solutions, Inc. (“Experian”),
13
     Trans Union, LLC (“TransUnion”), (Experian and TransUnion, each a “Bureau”
14
     and collectively “Bureaus”), and Santander Consumer USA Inc. (“Santander” or
15

16   “Furnisher”), and respectfully sets forth, complains, and alleges, upon

17   information and belief, the following:
18
         1.      Plaintiff brings this action for damages arising from each Defendant’s
19
     violations of 15 U.S.C. § 1681 et seq., the Fair Credit Reporting Act (“FCRA”).
20
         2.      As described more fully below, each Defendant improperly reported an
21

22   account, balance, and delinquency on Plaintiff’s credit report that was the result

23   of fraud and identity theft.
24
         3.      Plaintiff disputed the account providing the necessary documentation.
25
         4.      Each Defendant failed correct the inaccuracies.
26
         5.      Plaintiff was thereby damaged.
27

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1                              JURISDICTION AND VENUE
2
         6.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331,
3
     as well as 15 U.S.C. § 1681p et seq.
4
         7.    Venue is proper in this judicial district pursuant to 28 U.S.C. §
5

6    1391(b)(2), as a substantial part of the events or omissions giving rise to the claim
7    occurred here, the Plaintiff resides here, and the Defendants transact business
8
     here.
9
                                            PARTIES
10

11
         8.    Plaintiff is a resident of Florida, County of Duval.

12       9.    At all times material hereto, Plaintiff was a “consumer” as said term is
13   defined under 15 U.S.C. § 1681a(c).
14
         10.   Defendant Experian Information Solutions, Inc., is a consumer
15
     reporting agency as defined by 15 U.S.C. § 1681a (f) and conducts substantial and
16

17   regular business activities in this judicial district.

18       11.   Experian is an Ohio corporation registered to do business in this State.
19
         12.   Experian may be served with process c/o CT Corporation System, 1200
20
     South Pine Island Road, Plantation, FL 33324.
21
         13.   Experian is a consumer reporting agency that compiles and maintains
22

23   files on consumers on a nationwide basis and is regularly engaged in the business

24   of assembling, evaluating, and disbursing information concerning consumers to
25
     third parties for the purpose of furnishing consumer reports, as defined under 15
26
     U.S.C. § 1681a (p).
27

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1        14.    At all times material hereto, Experian disbursed such consumer reports
2
     to third parties under a contract for monetary compensation.
3
         15.    Experian PLC, the parent company for Experian, is traded on the
4
     London Stock Exchange under the symbol EXPN.
5

6        16.    Defendant TransUnion, LLC, is a consumer reporting agency as defined
7    by 15 U.S.C. § 1681a (f) and conducts substantial and regular business activities in
8
     this judicial district.
9
         17.    Defendant TransUnion is a Delaware corporation registered to do
10

11
     business in this State.

12       18.    TransUnion may be served with process c/o The Prentice-Hall
13   Corporation System, Inc., 1201 Hays Street, Tallassee, FL 32301.
14
         19.    At all times material hereto, TransUnion is a consumer reporting
15
     agency regularly engaged in the business of assembling, evaluating and
16

17   disbursing information concerning consumers for the purpose of furnishing

18   consumer reports, as said term is defined under 15 U.S.C. § 1681a(p) to third
19
     parties.
20
         20.    At all times material hereto, TransUnion disbursed such consumer
21
     reports to third parties under a contract for monetary compensation.
22

23       21.    Trans Union, the parent company of Defendant TransUnion, is traded

24   on the New York Stock Exchange under the symbol TRU.
25
         22.    Defendant Santander is a person who furnishes information to
26
     consumer reporting agencies under 15 U.S.C. § 1681s-2.
27

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1       23.   Santander has an address for service at c/o C T Corporation System,
2
     1200 South Pine Island Road, Plantation, FL 33324.
3
                               FACTUAL ALLEGATIONS
4
        24.   Plaintiff incorporates the above allegations as if set forth here.
5

6                                        Background
7       25.   Plaintiff is a victim of fraud and identity theft.
8
        26.   One or more unknown individuals stole Plaintiff’s financial and/or
9
     personal information.
10
        27.   They gained access to Plaintiff’s personal information.
11

12      28.   Unbeknownst to Plaintiff, his personal information was used to open a

13   Santander account.
14
        29.   In or prior to April 2023, Plaintiff noticed a Santander account on his
15
     credit report that was opened under his name and that had a balance that was not
16
     incurred by him.
17

18      30.   There is a Santander account number in Plaintiff’s name beginning with

19   account number 300002… (“Account”).
20
        31.   Plaintiff realized that the Account was appearing on his credit reports
21
     from each Bureau.
22

23
        32.   The Account was appearing on each Bureau’s credit report as past due.

24      33.   The Account was overdue.
25      34.   The Account was already charged off.
26
        35.   Yet, the balance on the Account was not from Plaintiff.
27

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1        36.   It was fraudulently incurred without his approval.
2
         37.   Plaintiff did not authorize anyone to open this Account.
3
         38.   Plaintiff did not enter into transactions with Furnisher, or anyone, for
4
     those charges.
5

6        39.   Plaintiff is a victim of fraud and identity theft.
7        40.   When Plaintiff became aware of the fraudulent account and balance he
8
     reported these crimes to law enforcement.
9
         41.   Furnisher also has incorrect information for Plaintiff regarding the
10

11
     Account, further demonstrating its falsity.

12       42.   Two phone numbers and the physical address linked to the Account are
13   not Plaintiff’s.
14
         43.   The address on the Account that is not Plaintiff’s was 11546 Dunes Way
15
     Dr. N, Jacksonville, FL 32225.
16

17       44.   The phone numbers on the Account that were not Plaintiff’s were

18   (904)586-5279 and (904)365-9795.
19
         45.   Plaintiff reported the crime to the Federal Trade Commission.
20
         46.   The Federal Trade Commission operates the website IdentityTheft.gov
21
     which it says is “the federal government’s one-stop resource for identity theft
22

23   victims. The site provides streamlined checklists and sample letters to guide you

24   through the recovery process.” https://www.identitytheft.gov.
25
         47.   On or about April 26, 2023, Plaintiff filed an Identity Theft Report with
26
     the Federal Trade Commission. (“FTC Report”).
27

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1        48.   The FTC Report number is 159198163.
2
         49.   Plaintiff confirmed that he is a victim of the crime of identity theft.
3
         50.   In the FTC Report, Plaintiff described the fraud against him.
4
         51.   Plaintiff stated that the Account charges were not his.
5

6        52.   Plaintiff confirmed his understanding that knowingly making false
7    statements to the government may result in a fine, imprisonment, or both.
8
         53.   The FTC Report states, “Use this form to prove to business and credit
9
     bureaus that you submitted an FTC Identity Theft Report to law enforcement.”
10

11
         54.   An FTC Report is acceptable proof of identity theft to block items in a

12   consumer’s credit report as disputed for being fraudulent.
13       55.   Upon receipt of notice of identity theft, each Bureau is required to block
14
     the disputed information pursuant to 15 U.S.C. § 1681c-2.
15
                                           Violations
16
         56.   On April 26, 2023, Plaintiff disputed the Account with each Bureau
17

18   (“First Dispute”).

19       57.   On June 23, 2023, Plaintiff again dispute the Account with each Bureau
20
     (“Second Dispute”).
21
         58.   In response, non-party Equifax removed the Account from Plaintiff’s
22

23
     credit report.

24       59.   In a letter dated October 11, 2023, Plaintiff disputed the veracity of the
25   reporting and described how he is a victim of identity theft. (“Third Dispute” or
26

27

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1    “Dispute”) (First Dispute, Second Dispute, and Third Dispute, collectively
2
     “Disputes”).
3
         60.    Plaintiff sent his Dispute to each Bureau.
4
         61.    In his Dispute, Plaintiff included a description of the identity theft, the
5

6    FTC Report, his date of birth, his social security card and number, a copy of his
7    driver’s license and a proof of address.
8
         62.    Each Bureau is required by law to notify Furnisher of Plaintiff’s
9
     dispute(s).
10

11
         63.    It appears and is therefore averred that each Bureau notified Furnisher

12   of Plaintiff’s dispute(s).
13       64.    Despite the Dispute, and subsequent to it, the Account and fraudulent
14
     balance remained on Plaintiff’s credit report from each Bureau.
15
         65.    Despite being on notice from Plaintiff upon receipt of the Dispute(s),
16

17   Furnisher was reporting the Account and balance to each Bureau.

18       66.    Each Bureau was reporting the Account and balance on Plaintiff’s credit
19
     reports.
20
         67.    On information and belief, on date(s) better known to each Bureau, it
21
     issued credit reports concerning the Plaintiff that included the Account and
22

23   incorrect balance.

24       68.    On information and belief, on date(s) better known to each Bureau, it
25
     issued credit reports concerning the Plaintiff that included Accounts tradelines.
26

27

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1        69.   The information furnished by Furnisher and published by each Bureau
2
     was inaccurate.
3
         70.   Each Bureau had been reporting this inaccurate information through
4
     the issuance of false and inaccurate credit information and consumer reports that
5

6    it has disseminated to various persons and credit grantors, both known and
7    unknown.
8
         71.   Upon receipt of the dispute(s) of the account by the Plaintiff from each
9
     Bureau, Furnisher failed to conduct a reasonable investigation and continued to
10

11
     report false and inaccurate adverse information on the consumer report of the

12   Plaintiff with respect to their respective disputed Accounts.
13       72.   Had Furnisher conducted a reasonable investigation it would have been
14
     revealed to it that its Account information was inaccurate.
15
         73.   A reasonable investigation by each Defendant would have revealed that
16

17   each respective Account is being incorrectly reported.

18       74.   Each Defendant was in receipt of the evidence showing that the
19
     reported information was inaccurate.
20
         75.   Each Bureau was in receipt of information showing the information
21
     reported by Furnisher was inaccurate.
22

23       76.   Despite the Dispute(s) by the Plaintiff that the information on his

24   consumer report was inaccurate with respect to the disputed Accounts, each
25
     Defendants did not evaluate or consider any of the information, claims, or
26
     evidence of the Plaintiff and did not make an attempt to substantially reasonably
27

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1    verify that the derogatory information concerning the disputed account(s) was
2
     inaccurate.
3
         77.   Each Defendant did not even call Plaintiff to discuss his claims.
4
         78.   Each Defendant did not even email Plaintiff to discuss his claims.
5

6        79.   Each Defendant did not even mail correspondence to Plaintiff to discuss
7    his claims and to conduct its investigation or reinvestigation of the Accounts.
8
         80.   Upon information and belief, each Defendant did not call the FTC to
9
     discuss the matter.
10

11
         81.   Upon information and belief, each Defendant did not email the FTC to

12   discuss the matter.
13       82.   Upon information and belief, each Defendant did not mail any
14
     correspondence to the FTC to discuss the matter.
15
         83.   Each Bureau’s actions described herein violated 15 U.S.C. § 1681i.
16

17       84.   Each Bureau violated 15 U.S.C. § 1681e (b) by failing to follow

18   reasonable procedures to assure maximum possible accuracy of the information
19
     on Plaintiff’s credit report.
20
         85.   Each Bureau further violated 15 U.S.C. § 1681c-2 (a) (Block of
21
     information resulting from identity theft).
22

23       86.   Furnisher’ actions described herein violated 15 U.S.C. 1681s-2 (b).

24       87.   Notwithstanding Plaintiff’s efforts, each Defendant continued to publish
25
     and disseminate such inaccurate information to other third parties, persons,
26
     entities and credit grantors.
27

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1        88.   Each Defendant knew or had reason to know the information was
2
     inaccurate.
3
         89.   Each Defendant was in possession of the documentation of the
4
     inaccuracies and fraud of the Account yet persisted in reporting it anyway.
5

6        90.   Upon information and belief, each Bureau did not request any
7    supporting documentation from Furnisher during its investigation(s) of
8
     Plaintiff’s Dispute(s).
9
         91.   Upon information and belief, Furnisher did not send any
10

11
     documentation to each Bureau during its investigation(s) of Plaintiff’s Dispute(s).

12       92.   Furnisher continues to furnish credit data which is inaccurate and
13   materially misleading, and each Bureau’s reporting of the above-referenced
14
     tradeline(s) continue to be inaccurate and materially misleading.
15
         93.   In response to Plaintiff’s Dispute(s) Trans Union even responded that
16

17   “we have determined that your request has either a) been made in error; b) is a

18   misrepresentation of material fact relevant to the request to block; and/or c) you
19
     have obtained possession of goods, services or money as a result of the
20
     transaction [sic] issue.”
21
         94.   None of those are true.
22

23                                       Damages

24       95.   As a result of each Defendant’s failure to comply with the FCRA,
25   Plaintiff has been damaged.
26

27

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1        96.   Each Defendant’s erroneous reporting continues to affect Plaintiff’s
2
     reputation, creditworthiness, and credit score.
3
         97.   Plaintiff suffered damage to his reputation as it falsely appears as if he is
4
     delinquent on the Account when he is not.
5

6        98.   It also falsely appears as if Plaintiff owes money on the Account.
7        99.   This false information was published to numerous third parties.
8
         100. This negative information reflected poorly upon Plaintiff and is
9
     incompatible with the proper exercise of Plaintiff’s lawful financial affairs.
10

11
         101. Plaintiff has, inter alia, suffered damage by loss of time and money in

12   trying to rectify each Defendant’s willful and negligent actions, loss of credit, loss
13   of ability to purchase and benefit from credit, reputational harm, decreased credit
14
     score, a chilling effect on applications for credit, and the mental and emotional
15
     pain, anguish, humiliation, and embarrassment for having false information on
16

17   his credit report, for credit denial, and for having others see the false credit

18   information..
19
         102. Plaintiff was denied funding opportunities due to Defendants’ actions.
20
         103. When applying for a loan from Digital Federal Credit Union, Plaintiff
21
     was denied due to “collection Account(s) or judgements” on his report.
22

23       104. Due to each Defendant’s action described above, when trying to qualify

24   for an auto loan from Capital One, Plaintiff was denied.
25
         105. When applying for a loan from Avant, Plaintiff was likewise denied.
26

27

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1        106. These denials caused Plaintiff to suffer tangible and intangible losses of
2
     lack of available credit.
3
         107. Plaintiff suffered and continues to suffer due to each Defendant’s
4
     improper actions.
5

6        108. Plaintiff was emotionally distraught and damaged, had difficulty

7    sleeping, and difficulty staying asleep.
8
         109. Each Defendant’s actions have exacerbated, enabled, and lengthened
9
     the impact of the identity thieves’ crimes against Plaintiff.
10

11
         110. Plaintiff was left with no choice but to institute the instant proceeding.

12                                FIRST CAUSE OF ACTION
                          (Violations of the FCRA as to each Bureau)
13
         111.   Plaintiff incorporates the allegations above the First Cause of Action as
14

15   if set forth here.

16       112. This is an action for willful and/or negligent violation of the Fair Credit
17
     Reporting Act, 15 U.S.C. § 1681 et seq.
18
         113. Each Bureau violated 15 U.S.C. § 1681e (b) by failing to establish or to
19

20
     follow reasonable procedures to assure maximum possible accuracy in the

21   preparation of the credit report and credit files that each Bureau maintained or
22   furnished concerning the Plaintiff.
23
         114. Each Bureau violated 15 U.S.C. § 1681i (a)(1)(A) by failing to conduct a
24
     reasonable investigation and delete the disputed tradeline within 30 days of
25

26
     receiving Plaintiff’s dispute(s) and by failing to maintain reasonable procedures

27   with which to verify the disputed information in Plaintiff’s credit file.
28

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1        115. The FCRA has provisions that specifically govern disputes based on
2
     identity theft, yet each Bureau failed to comply with those provisions.
3
         116. When Plaintiff alleged identity theft and sent a valid identity theft
4
     report that was filed with law enforcement, each Bureau was required to stop
5

6    reporting the fraudulent information in the Plaintiff’s credit report. See 15 U.S.C.
7    §§ 1681c-2(a), 1681a(q)(4); 12 C.F.R. § 1022.3(i)(1).
8
         117. The FCRA thus reflects congressional recognition that it is unreasonable
9
     for each Bureau not to block information that is contained in a credit report due
10

11
     to identity theft when the crime has been reported to law enforcement.

12       118. Each Bureau further violated 15 U.S.C. § 1681c-2(a) (Block of

13   information resulting from identity theft) by failing to block information in
14
     Plaintiff’s credit report after receiving the Report.
15
         119. Each Bureau violated 15 U.S.C. § 1681i (a)(2)(A) by failing to provide
16

17   notice of the Dispute to Furnisher or, in the alternative, if each Bureau did

18   comply with Section 1681i (a)(2)(A) then it failed to comply with Section 1681i
19
     (a)(2)(B) by failing to provide Plaintiff all relevant information received from
20
     Furnisher.
21
         120. Each Bureau has willfully and recklessly, or in the alternative
22

23   negligently, failed to comply with the Act.

24       121. The failure of each Bureau to comply with the Act include but is not
25
     necessarily limited to:
26

27

28

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1            a) The failure to follow reasonable procedures to assure the maximum
2
                possible accuracy of the information reported;
3
             b) The failure to remove and/or correct the inaccuracy and derogatory
4
                credit information after a reasonable request by the Plaintiff;
5

6            c) The failure to promptly and adequately investigate information which

7               each Bureau had notice was inaccurate;
8
             d) The continual placement of inaccurate information into the credit
9
                report of the Plaintiff after being advised by the Plaintiff that the
10

11
                information was inaccurate;

12           e) The failure to promptly delete information that was found to be

13              inaccurate, or could not be verified, or that the source of information
14
                had advised each Bureau to delete;
15
             f) failing to block information in Plaintiff’s credit report after Plaintiff
16

17              identified it as information that resulted from identity theft;

18           g) failing to promptly notify the furnisher of information identified by
19
                Plaintiff as information that resulted from identity theft;
20
             h) The failure to take adequate steps to verify information each Bureau
21
                had reason to believe was inaccurate before including it in the credit
22

23              report of the consumer; and

24           i) The failure to provide notice of a dispute to the Furnisher or, in the
25
                alternative, the failure to provide Plaintiff all relevant information
26
                received from the Furnisher in response to a dispute.
27

28

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1        122. As a result of the conduct, action and inaction of each Bureau, Plaintiff
2
     suffered damage as described above.
3
         123. The conduct, action and inaction of each Bureau was willful rendering
4
     each Bureau liable for actual, statutory and punitive damages in an amount to be
5

6    determined by a judge and/or jury pursuant to 15 U.S.C. § 1681n.
7        124. In the alternative, the conduct, action, and inaction of each Bureau was
8
     negligent, entitling the Plaintiff to damages under 15 U.S.C. § 1681o.
9
         125. Plaintiff is entitled to recover reasonable costs and attorney’s fees from
10

11
     each Bureau in an amount to be determined by the Court pursuant to 15 U.S.C.

12   §§ 1681n-1681o.
13       126. WHEREFORE, Plaintiff demands judgment for damages together with
14
     attorney’s fees and court costs pursuant to 15 U.S.C. §§ 1681n-1681o.
15
                                SECOND CAUSE OF ACTION
16
                          (Violations of the FCRA as to Furnisher)
17
         127. Plaintiff incorporates the allegations above the First Cause of Action as
18
     if set forth here.
19
         128. This is an action for willful and/or negligent violations of the Fair Credit
20

21   Reporting Act, 15 U.S.C. § 1681 et seq.
22       129. Pursuant to the Act, all persons who furnished information to reporting
23
     agencies must participate in re-investigations conducted by the agencies when
24
     consumers dispute the accuracy and completeness of information contained in a
25

26
     consumer credit report.

27

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1        130. Pursuant to the Act, Furnisher of disputed information must be notified
2
     by the credit reporting agency when the agency receives a notice of dispute from a
3
     consumer such as the Plaintiff.
4
         131. The Furnisher must then conduct a timely investigation of the disputed
5

6    information and review all relevant information provided by the agency.
7        132. The results of the investigation must be reported to the agency and, if
8
     the investigation reveals that the original information is incomplete or
9
     inaccurate, the Furnisher must report the results to any other agencies which
10

11
     were supplied such information.

12       133. Upon information and belief, and as described above, Furnisher

13   received notice of Plaintiff’s dispute(s) from one or more of the Bureaus.
14
         134. Furnisher violated 15 U.S.C. § 1681s-2 (b) as described above, including,
15
     but not limited to, failing to fully and properly investigate the dispute(s) of the
16

17   Plaintiff, failing to review all relevant information regarding same, and failing to

18   correctly report results of an accurate investigation to the credit reporting
19
     agencies.
20
         135. Furnisher continued to report this information on the Plaintiff’s credit
21
     report after being notified of the dispute(s) regarding the Account(s) as described
22

23   above.

24       136. As a result of the conduct, action, and inaction of Furnisher, Plaintiff
25
     suffered damage as described above.
26

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1        137. The conduct, action, and inaction of Furnisher was willful, rendering it
2
     liable for actual, statutory and punitive damages in an amount to be determined
3
     by a jury pursuant to 15 U.S.C. § 1681n.
4
         138. In the alternative, the conduct, action, and inaction of Furnisher was
5

6    negligent, entitling the Plaintiff to damages under 15 U.S.C. § 1681o.
7        139. Plaintiff is entitled to recover reasonable costs and attorney’s fees from
8
     Furnisher in an amount to be determined by the Court pursuant to 15 U.S.C. §§
9
     1681n-1681o.
10

11
         140. WHEREFORE, Plaintiff demands judgment for damages, together with

12   attorney’s fees and court costs pursuant to 15 U.S.C. §§ 1681n-1681o.
13                           DEMAND FOR TRIAL BY JURY
14
         141. Plaintiff demands and hereby respectfully requests a trial by jury for all
15
     claims and issues in this complaint to which Plaintiff is or may be entitled to a
16
     jury trial.
17

18                                 PRAYER FOR RELIEF

19   WHEREFORE, Plaintiff demands judgment from each Defendant as follows:
20
            a)     For actual damages provided and pursuant to 15 U.S.C. § 1681o (a)
21
                   be awarded for each negligent violation as alleged herein;
22
            b)     For actual damages provided and pursuant to 15 U.S.C. § 1640(a)(1);
23

24          c)     For statutory damages provided and pursuant to 15 U.S.C. § 1681n

25                 (a);
26
            d)     For statutory damages provided and pursuant to 15 U.S.C.
27
                   § 1640(a)(2);
28

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1         e)    For punitive damages provided and pursuant to 15 U.S.C. § 1681n
2
                (a)(2);
3
          f)    For attorney fees and costs provided and pursuant to 15 U.S.C.
4
                § 1681n (a)(3), 15 U.S.C. § 1681o (a)(2) and 15 U.S.C. § 1640(a)(3);
5

6               and
7         g)    For any such other and further relief, as well as further costs,
8
                expenses and disbursements of this action as this Court may deem
9
                just and proper.
10

11
     Dated: January 31, 2024

12                                               By:   ZEIG LAW FIRM, LLC
                                                       /s/ Justin Zeig
13                                                     Justin Zeig, Esq.
14                                                     3475 Sheridan Street, Ste 310
                                                       Hollywood, FL 33021
15                                                     Phone: (754) 217-3084
                                                       Fax: (954) 272-7807
16
                                                       Justin@zeiglawfirm.com
17
                                                       Stein Saks, PLLC
18                                                     s/ Eliyahu Babad
                                                       Eliyahu Babad, Esq.
19
                                                       One University Plaza
20                                                     Suite 620
                                                       Hackensack, NJ 07601
21                                                     (201) 282-6500 x121
                                                       EBabad@SteinSaksLegal.com
22
                                                       Pending Admission
23                                                     Pro Hac Vice

24                                                     Attorneys for Plaintiff
25

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27

28

                                            18
